Case 1:21-cr-00041-JL Document 321-22 Filed 07/17/23 Page 1 of 2
             Case 1:21-cr-00041-JL Document 321-22 Filed 07/17/23 Page 2 of 2


Summary of Deposit Sources
Bank of America CHK 8122
Route 101 Goods LLC, signers: C       F        ,C   R
Time Period: October 2019 - Janaury 2020 (closed)
Deposit Source                  Count   Total Deposited Percentage of Total
Counter Credit                   146         $551,967.97      66.16%
H        ,D      F.               3          $121,000.00      14.50%
Item Missing                      1            $1,128.20       0.14%
Item Missing (Returned)           2           $11,784.00       1.41%
M        ,L     E. Z              1           $12,000.00       1.44%
S       ,J      A./P     L        2          $130,000.00      15.58%
Transfer (Account Unknown)        4            $6,377.00       0.76%
Grand Total                      159         $834,257.17     100.00%


Summary of Payees
Bank of America CHK 8122
Route 101 Goods LLC, signers: C       F        ,C   R
Time Period: October 2019 - Janaury 2020 (closed)
Payee                           Count     Total Paid     Percentage of Total
Account Closing Transaction       1         -$13,709.17         1.64%
Bank Fee                         11             -$240.00        0.03%
Check Returned                    2         -$11,784.00         1.41%
Freeman, Ian                     10        -$805,494.00        96.55%
G     ,J                          1             -$100.00        0.01%
Route 101 Goods LLC               2           -$2,930.00        0.35%
Grand Total                      27        -$834,257.17       100.00%




as of April 21, 2022
